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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,

                      Plaintiff,

v.                                                                    Criminal No. 1:95CR2


ELIZABETH JENKINS,

                      Defendant.


                                      ORDER/OPINION

       On the 9th day of November 2006, came the defendant, Elizabeth Jenkins, in person and by

her counsel, Brian Kornbrath, and also came the United States by its Assistant United States

Attorney, Zelda Wesley, pursuant to a Petition for Warrant or Summons for Offender Under

Supervision filed in this case on October 4, 2006, alleging Defendant:

1.     Violated Mandatory Condition No. 1 that she report to the Probation Office in the district

       to which she is released within 72 hours of release from the custody of the Bureau of

       Prisons.       The grounds for the allegation is as follows:

       The defendant was released from the custody of the Bureau of Prisons on May 31,
       2000, to the custody of the State of West Virginia. She served a state sentence of
       incarceration at Lakin Correctional Center and was released from state custody on
       October 6, 2004. The defendant has failed to report to the Probation Officer since
       her release to begin the period of supervised release imposed in this case.

       The Probation Officer recommended that Defendant’s conditions of supervision should be

modified as follows: “The three year term of supervised release shall begin when the defendant is

located and otherwise brought into compliance.”
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       On October 3, 2006, Chief United States District Judge Irene M. Keeley Ordered the

issuance of a warrant and that Defendant be detained upon her arrest. Defendant was arrested on

October 19, 2006.

       Prior to the taking of evidence, Defendant waived the preliminary hearing, conceding only

that probable cause existed to forward this revocation matter to District Judge Irene M. Keeley for

hearing and disposition.

       The Court then explained the charges contained in the Petition and the effect of the proposed

waiver to defendant and inquired of her as to the voluntariness of her decision to waive the

preliminary hearing. From the colloquy between the Court and the defendant, the Court concludes

defendant’s decision to waive the preliminary hearing was knowingly, freely, and voluntarily made.

        Upon consideration of all which, the Court finds there is probable cause to believe that the

defendant violated conditions of her supervised release as alleged in the Petition for Warrant or

Summons for Offender Under Supervision filed October 4, 2006.

       It is therefore ORDERED that the defendant be bound over for a full hearing before the

Honorable Irene M. Keeley, Chief Judge of the United States District Court for the Northern

District of West Virginia on the Petition for Warrant or Summons for Offender Under Supervision

filed October 4, 2006.

       Counsel for Defendant requested the Court permit Defendant to remain on bond pending

further proceedings. Counsel represented that there was a bed available at the Clarksburg Mission,

and argued that Defendant was neither a flight risk nor a danger to the community if released. The

Government did not object to Defendant’s release on conditions . The Court GRANTS Defendant’s

request for release on conditions. It is therefore further

       ORDERED that the defendant be released pending further proceedings, pursuant to an Order
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Setting Conditions of Release entered this date.

       The Clerk of the Court is directed to send a copy of this order to counsel of record.

       DATED: November 13, 2006.
                                                     /s John S. Kaull
                                                     JOHN S. KAULL
                                                     UNITED STATES MAGISTRATE JUDGE
